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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA,                    }
              Plaintiff-Respondent           }
                                             }
v.                                           }      CRIMINAL ACTION NO. H-92-137-10
                                             }      CIVIL ACTION NO. H-05-46
CARMENZA GUZMAN VARON,                       }
              Defendant-Petitioner           }

                                ORDER DISMISSING ACTION

       After careful and independent consideration of the record in this case, the Court

       ORDERS that Petitioner Carmenza Guzman-Varon’s Motion to Vacate, Set Aside or Correct

Sentence filed pursuant to 28 U.S.C. § 2255 is DENIED and his action is DISMISSED WITH

PREJUDICE.

       SIGNED at Houston, Texas this 5th day of December, 2006.


                                             ________________________________
                                                     MELINDA HARMON
                                             UNITED STATES DISTRICT JUDGE
